          Case 1:20-cv-11141-JCB Document 65 Filed 11/10/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


NATIONAL ASSOCIATION OF CONSUMER                        )
ADVOCATES; UNITED STATES PUBLIC                         )
INTEREST RESEARCH GROUP; and                            )
KATHLEEN ENGEL,                                         )
                                                        )
                Plaintiffs,                             )
                                                        )
                v.                                      )               Case No. 1:20-cv-11141
                                                        )
ROHIT CHOPRA, in his official capacity                  )
as the Director of the Consumer Financial               )
Protection Bureau; and CONSUMER                         )
FINANCIAL PROTECTION BUREAU,                            )
                                                        )
                Defendants.                             )
                                                        )

      AMENDED JOINT MOTION FOR A STAY PENDING THE FINALIZATION
                    OF A SETTLEMENT AGREEMENT

        Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiffs and Defendants jointly

request that this Court stay this case until November 30, 2021, or, in the alternative, stay the

briefing schedule until that date. Although this Court previously stated that no further extensions

of time would be granted, see Doc. 63, counsel for the parties have now agreed in principle to a

settlement that will resolve all issues in this case. This stay will allow the parties to finalize and

file a stipulated settlement agreement. If the parties are unable to finalize a settlement by

November 30, they will file a joint status report setting forth the progress of the settlement and

proposing a new briefing schedule, if necessary.
          Case 1:20-cv-11141-JCB Document 65 Filed 11/10/21 Page 2 of 3




Dated: November 10, 2021                    Respectfully submitted,


/s/ Kristen Miller                          SETH FROTMAN
                                            Acting General Counsel
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                                        2
          Case 1:20-cv-11141-JCB Document 65 Filed 11/10/21 Page 3 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


NATIONAL ASSOCIATION OF CONSUMER                      )
ADVOCATES; UNITED STATES PUBLIC                       )
INTEREST RESEARCH GROUP; and                          )
KATHLEEN ENGEL,                                       )
                                                      )
               Plaintiffs,                            )
                                                      )
               v.                                     )               Case No. 1:20-cv-11141
                                                      )
ROHIT CHOPRA, in his official capacity                )
as the Director of the Consumer Financial             )
Protection Bureau; and CONSUMER                       )
FINANCIAL PROTECTION BUREAU,                          )
                                                      )
               Defendants.                            )
                                                      )

                                     [PROPOSED] ORDER


       Upon consideration of the parties’ Joint Motion for a Stay Pending the Finalization of a

Settlement Agreement, it is hereby ORDERED that the motion is GRANTED.

       It is further ordered that, if the parties have not submitted a settlement agreement to this

Court by November 30, 2021, they shall, on that date, file a joint status report setting forth the

progress of the settlement and proposing a new briefing schedule, if necessary


       It is so ORDERED.



Dated: _________________                              ______________________________
                                                      The Honorable Judge Jennifer C. Boal
                                                      United States Magistrate Judge
